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 6                          UNITED STATES DISTRICT COURT
 7                       SOUTHERN DISTRICT OF CALIFORNIA
 8    UNITED STATES OF AMERICA,                   Case No. 21cv0091-DMS(AGS)
 9                     Plaintiff,                 ORDER GRANTING JOINT
                                                  MOTION TO STAY
10         v.
11    $49,812.40 IN U.S. CURRENCY SEIZED
      FROM WELLS FARGO BANK
12    ACCOUNT NUMBER XX3071;
13    $1,016,738.02 IN U.S. CURRENCY
      SEIZED FROM WELLS FARGO BANK
14    ACCOUNT NUMBER XX1430;
15    $15,448.64 IN U.S. CURRENCY SEIZED
      FROM WELLS FARGO BANK
16    ACCOUNT NUMBER XX0706;
17    $559.15 IN U.S. CURRENCY SEIZED
      FROM WELLS FARGO BANK
18    ACCOUNT NUMBER XX0557;
19    $142,580.46 IN U.S. CURRENCY
      SEIZED FROM WELLS FARGO BANK
20    ACCOUNT NUMBER XX9816;
21    $60,961.48 IN U.S. CURRENCY SEIZED
      FROM WELLS FARGO BANK
22    ACCOUNT NUMBER XX6408;
23    $2,058,060.72 IN U.S. CURRENCY
      SEIZED FROM WELLS FARGO
24    BANK ACCOUNT NUMBER XX7253;
25    $1,022.12 IN U.S. CURRENCY SEIZED
      FROM WELLS FARGO BANK
26    ACCOUNT NUMBER XX8049;
27    $4,983.50 IN U.S. CURRENCY SEIZED
      FROM BANK OF AMERICA ACCOUNT
28    NUMBER XX5609;


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 1
      $4,388,112.64 IN U.S. CURRENCY
 2    SEIZED FROM FIDELITY
      INVESTMENTS ACCOUNT NUMBER
 3    XX0472;
 4    $2,134,352.70 IN U.S. CURRENCY
      SEIZED FROM FIDELITY
 5    INVESTMENTS ACCOUNT NUMBER
      XX0473;
 6
      $3,896,247.90 IN U.S. CURRENCY
 7    SEIZED FROM FIDELITY
      INVESTMENTS ACCOUNT NUMBER
 8    XX0474;
 9    $544,162.17 IN U.S. CURRENCY
      SEIZED FROM FIDELITY
10    INVESTMENTS ACCOUNT NUMBER
      XX0475;
11
      $837,395.44 IN U.S. CURRENCY
12    SEIZED FROM FIDELITY
      INVESTMENTS ACCOUNT NUMBER
13    XX0476;
14    $218,544.33 IN U.S. CURRENCY
      SEIZED FROM FIDELITY
15    INVESTMENTS ACCOUNT NUMBER
      XX0477;
16
      $292,635.83 IN U.S. CURRENCY
17    SEIZED FROM FIDELITY
      INVESTMENTS ACCOUNT NUMBER
18    XX4433;
19    $950.20 IN U.S. CURRENCY SEIZED
      FROM FIDELITY INVESTMENTS
20    ACCOUNT NUMBER XX2582;
21    2018 PORSCHE PANAMERA,
      CALIFORNIA LICENSE PLATE
22    NUMBER 8GTX359, VEHICLE
      IDENTIFICATION NUMBER
23    WP0AB2A76JL135537;
24    2019 FORD LARIAT 4X2 F-150,
      FLORIDA LICENSE PLATE NUMBER
25    LEJQ98, VEHICLE IDENTIFICATION
      NUMBER 1FTEW1C51KFB11044;
26
      2019 AUDI Q8 PREMIUM, FLORIDA
27    LICENSE PLATE NUMBER LCII94,
      VEHICLE IDENTIFICATION NUMBER
28    WA1AVAF10KD010335;


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 1
      REAL PROPERTY LOCATED AT 2936
 2    MIDSUMMER DR, WINDERMERE, FL
      34786;
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                        Defendants.
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 6        Having reviewed the Joint Motion of the parties, the Court hereby orders that the
 7 Joint Motion is approved. This civil forfeiture case is hereby stayed pending further Order
 8 by this Court based upon the ongoing criminal investigation.
 9        IT IS SO ORDERED.
10 DATED: June 7, 2021                                      _________________
                                                Hon. Dana M. Sabraw
11                                              United States Chief District Judge
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